        Case 21-11658-amc                     Doc       Filed 09/14/22 Entered 09/14/22 17:30:35                              Desc Main
 Fill in this information to identify the case:         Document      Page 1 of 10

 Debtor 1          Denise   Robin Marshall
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern
                                         __________ District of Pennsylvania
                                                                __________

 Case number           21-11658-amc
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: MIDFIRST  BANK
                   _______________________________________                                                      5
                                                                                    Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                             Date of payment change:
 identify the debtor’s account:                          5 ____
                                                        ____ 6 ____
                                                                 8 ____
                                                                     5              Must be at least 21 days after date       11/1/2022
                                                                                                                              _____________
                                                                                    of this notice


                                                                                    New total payment:                                3190.39
                                                                                                                               $ ____________
                                                                                    Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                   1083.38
                   Current escrow payment: $ _______________                      New escrow payment:                  1312.67
                                                                                                              $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:       _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                            page 1
       Case 21-11658-amc                            Doc           Filed 09/14/22 Entered 09/14/22 17:30:35                            Desc Main
                                                                  Document      Page 2 of 10

Debtor 1         Denise    Robin Marshall
                 _______________________________________________________                        Case number         21-11658-amc
                                                                                                              (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û   _____________________________________________________________
     Signature
                                                                                                Date     09/02/2022
                                                                                                         ___________________




 Print:             Janet  M. Spears
                    _________________________________________________________                   Title   Authorized  Agent for Creditor
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Aldridge  Pite, LLP
                    _________________________________________________________



 Address            4375 Jutland Dr Suite 200; P.O. Box 17933
                    _________________________________________________________
                    Number                 Street

                    San  Diego                       CA     92177
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone      (858) 750-7600
                    ________________________                                                          jspears@aldridgepite.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 2
                                                            REPRESENTATION OF PRINTED DOCUMENT                            Page   1 of 3
                                   Midland Mortgage
Case 21-11658-amc                 Doc         Filed 09/14/22 Entered 09/14/22 17:30:35
                                   P.O. Box 26648
                                                                                                                                 Desc Main
                                              Document
                                   Oklahoma City, OK 73126-0648 Page 3 of 10 Loan number:
                                                                                          1100 ROCK CREEK DRIVE
                                                                                               WYNCOTE PA 19095
                                                                                          Date Reviewed: 08/09/2022
                                                                              Next Escrow Cycle: Nov 2022 - Oct 2023


         DENISE MARSHALL
         1100 ROCK CREEK DR
         WYNCOTE PA 19095




                                              Escrow Account Statement
   Why am I           Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
   receiving          Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                      pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
   this
                      your loan documents. This statement shows how those expenses affect the amount of your monthly
   statement?         mortgage payment.
   Why did my         The most common reason escrow payments change is an increase or decrease in the amounts you
   payment            pay in property taxes and homeowner's insurance. If you have questions about a change in your
   change?            tax or insurance bills, please contact your local taxing authority or insurance agent.

   What do I          Please review your escrow statement below, which explains how the shortage will impact your
   need to do         monthly payment. The last page of this statement includes helpful answers to common escrow
                      questions.
   next?
   Important          If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                      currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
   Notices            from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                      obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                      Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                      an attempt to collect a debt, and any information obtained will be used for that purpose.

                      Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                      Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                      that purpose.



   New Monthly Mortgage Payment
   The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
   has changed. Because of this, your mortgage payment has changed to $3,190.39 beginning with the 11/1/2022
   mortgage payment.

   Monthly Payment                                             Old Payment                  New Payment                  Change
   Principal & Interest                                        $1,877.72                    $1,877.72                    None
   Escrow Deposit plus Escrow Shortage or Surplus              $1,083.38                    $1,312.67                    Increase
   Total Monthly Mortgage Payment                              $2,961.10                    $3,190.39                    Increase

   Escrow Bills and Escrow Payment
   The following chart shows the breakdown of the amounts we anticipated to be paid from your escrow account since the
   last review and the new amounts we expect to pay from your escrow account between November 2022 and October
   2023.

   Escrow Bills                                   Old Amount                        New Amount                            Change
   Homeowners Ins                                 $2,543.00                         $3,123.00                             Increase
   City/Town Tax                                  $2,507.00                         $2,634.00                             Increase
   School District                                $7,950.00                         $8,320.00                             Increase
   Annual Total                                   $13,000.00                        $14,077.00                            Increase
                                                                                                                                               Page    1 of 3
Case 21-11658-amc                       Doc           Filed 09/14/22 Entered 09/14/22 17:30:35                                                     Desc Main
   Required Minimum Balance
                                                      Document      Page 4 of 10
   The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
   documents, federal and/or state law. The new required minimum balance in your escrow account is $2,346.16

                                  Your lowest expected escrow balance:                                                                        $671.04
                                  Your required minimum balance                                                                             $2,346.16
                                  The difference creates a shortage in your escrow account of:                                             -$1,675.12
   Because the lowest expected escrow balance is less than the required minimum balance, there is a shortage of -$1,675.12 in your
   escrow account. This shortage is illustrated in the table below, and can be found by calculating the difference in the
   bolded numbers in the Anticipated Balance and Required Balance columns.


   Expected Escrow Account Transactions
   The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
   as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
   account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
   different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
   future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
   account reviewed to avoid a large shortage or surplus in the future.

                            EXPECTED PAYMENTS             EXPECTED PAYMENTS                                              ANTICIPATED        REQUIRED
       MONTH-YEAR               TO ESCROW                    FROM ESCROW                 DESCRIPTION                        BALANCE          BALANCE
                                                                                         Starting Balance                    $3,017.24           $4,692.36
        Nov-22                    $1,173.08                      $0.00                                                       $4,190.32           $5,865.44
        Dec-22                    $1,173.08                      $0.00                                                       $5,363.40           $7,038.52
        Jan-23                    $1,173.08                      $0.00                                                       $6,536.48           $8,211.60
        Feb-23                    $1,173.08                      -$3,123.00              HAZARD                              $4,586.56           $6,261.68
        Mar-23                    $1,173.08                      -$2,634.00              CITY/TOWN TAX                       $3,125.64           $4,800.76
        Apr-23                    $1,173.08                      $0.00                                                       $4,298.72           $5,973.84
        May-23                    $1,173.08                      $0.00                                                       $5,471.80           $7,146.92
        Jun-23                    $1,173.08                      $0.00                                                       $6,644.88           $8,320.00
        Jul-23                    $1,173.08                      $0.00                                                       $7,817.96           $9,493.08
        Aug-23                    $1,173.08                      -$8,320.00              SCHOOL DISTRICT                      $671.04            $2,346.16
        Sep-23                    $1,173.08                      $0.00                                                       $1,844.12           $3,519.24
        Oct-23                    $1,173.08                      $0.00                                                       $3,017.20           $4,692.32
        Total                     $14,076.96                     -$14,077.00


   Escrow Account History
   This chart shows the estimated and actual activity in your escrow account from 11/1/21 through 8/1/2022. If the servicing of your
   loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
   history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
   ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
   statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
   chart below.

                       PAYMENTS TO                                        PAYMENTS FROM                                                    ESCROW
                         ESCROW                                              ESCROW                                                        BALANCE
    MONTH-
                  Estimated         Actual       Estimated           Description            Actual             Description         Estimated           Actual
     YEAR
                                                                                                     Starting Balance                $4,333.36      -$29,352.27
     Nov-21        $1,083.33           $0.00            $0.00                                  $0.00                                 $5,416.69      -$29,352.27
     Dec-21        $1,083.33           $0.00            $0.00                                  $0.00                                 $6,500.02      -$29,352.27
     Jan-22        $1,083.33           $0.00            $0.00                                  $0.00                                 $7,583.35      -$29,352.27
     Feb-22        $1,083.33           $0.00      -$2,543.00          HAZARD              -$3,123.00            HAZARD*              $6,123.68      -$32,475.27
     Mar-22        $1,083.33           $0.00      -$2,507.00      CITY/TOWN TAX           -$2,634.00        CITY/TOWN TAX*           $4,700.01      -$35,109.27
     Apr-22        $1,083.33           $0.00            $0.00                                  $0.00                                 $5,783.34      -$35,109.27
     May-22        $1,083.33           $0.00            $0.00                                  $0.00                                 $6,866.67      -$35,109.27
     Jun-22        $1,083.33           $0.00            $0.00                                  $0.00                                 $7,950.00      -$35,109.27
     Jul-22        $1,083.33           $0.00            $0.00                                  $0.00                                 $9,033.33      -$35,109.27
     Aug-22        $1,083.33           $0.00      -$7,950.00    SCHOOL DISTRICT           -$8,320.00      SCHOOL DISTRICT*           $2,166.66      -$43,429.27
      Total       $10,833.30           $0.00     -$13,000.00                             -$14,077.00

   * The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
                                                                                                               Page    2 of 3
Case 21-11658-amc             Doc        Filed 09/14/22 Entered 09/14/22 17:30:35                                     Desc Main
                                         Document      Page 5 of 10




   Paying the Shortage
   There is a shortage in your escrow account, which will be collected over the next 12 months with your monthly
   mortgage payment. There are no additional fees or interest to pay the shortage amount over the next 12 months.


                Your escrow shortage of $1,675.12 will be repaid by adding $139.59 to your next 12 monthly payments.
                This amount is automatically included in your new monthly payment of $3,190.39 beginning 11/1/2022.

                                                 No action is required by you.




                         What if I have enrolled in an Automatic Payment Plan?
        ·   If you use Midland’s Automatic Payment Plan, we will automatically adjust your payment withdrawal amount.
        ·   If you use an automatic payment program other than Midland’s, please contact your payment administrator
            and ask them to update your payment to the new amount.




                                            Worried About Payments?
       If you are struggling to pay your monthly payment, please call us at 1-800-552-3000 Monday through Friday from
       8 a.m. until 9 p.m. (Central Time) to discuss your account and the options that may be available to help you.

       You can also visit us online at www.MyMidlandMortgage.com/applynow to get an application for assistance.



                        Please review the reverse side of this statement for
                          helpful answers to common escrow questions.
                                                                                                          Page   2 of 3
Case 21-11658-amc            Doc        Filed 09/14/22 Entered 09/14/22 17:30:35                                 Desc Main
                                        Document      Page 6 of 10
   Frequently Asked Escrow Account Questions
   Q1 What is an escrow account?
     Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
     includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
     your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
     With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
     documents every month instead of once or twice a year.

   Q2 Why did Midland change my monthly mortgage payment amount?
     Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
     mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
     mortgage payment are usually because of changes in your taxes or insurance.
         Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
         rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
         taxing authority if you have questions about changes to your property taxes.
         Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
         your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
         your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
         You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
         insurance bills and your options.

   Q3 How often will my escrow payment change?
     Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
     we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
     more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
     insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

   Q4 Will my automatic payments change to cover my new payment amount?
     If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
     amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
     payment administrator and ask them to update your payment to the new amount.

   Q5 What should I do if I think my escrow bills are wrong?
     You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
     has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
     taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

   Q6 What are my options if my payment increased and I can’t afford a higher mortgage
      payment?
     If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
     us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




    Visit www.MyMidlandMortgage.com/Escrow for additional
    helpful answers to frequently asked escrow questions or
                 contact us at 1-800-654-4566.
                                                                                                   Page   3 of 3
Case 21-11658-amc          Doc          Filed 09/14/22 Entered 09/14/22 17:30:35                          Desc Main
                                        Document      Page 7 of 10




      (Enclosure)

      Voluntary lump-sum payment of escrow shortage
      There is a shortage in your escrow account in the amount of $1,675.12. If you would like
      to pay the shortage in full rather than repaying it through an increase to your monthly
      mortgage payment, you may use the coupon below. Please note, however, that this is
      not required. If you choose to pay the full shortage, once we receive it, your monthly
      payment will be adjusted to $3,050.80 per month, effective with your 11/01/2022
      payment.




        Please do not send this payment coupon with your regular monthly payment.




                      Midland Mortgage               LOAN NUMBER:
                      P.O. Box 26648
                      Oklahoma City, OK 73126-0648   CUSTOMER NAME:                      DENISE MARSHALL
                                                     PROPERTY ADDRESS:                    1100 ROCK CREEK
                                                                                                     DRIVE
                                                                                         WYNCOTE PA 19095

                                                          Total escrow Shortage: $1,675.12

                                                                     Midland Mortgage - Payment Processing
                                                                     P.O. Box 269074
                                                                     Oklahoma City, OK 73126-9074
Case 21-11658-amc   Doc   Filed 09/14/22 Entered 09/14/22 17:30:35   Desc Main
                          Document      Page 8 of 10
Case 21-11658-amc        Doc        Filed 09/14/22 Entered 09/14/22 17:30:35    Desc Main
                                    Document      Page 9 of 10
      ALDRIDGE PITE, LLP
      4375 Jutland Drive, Suite 200
      P.O. Box 17933
      San Diego, CA 92177-0933
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                UNITED STATES BANKRUPTCY COURT

              EASTERN DISTRICT OF PENNSYLVANIA - PHILADELPHIA DIVISION
      In re                                           Case No. 21-11658-amc
      DENISE ROBIN MARSHALL,                          Chapter 13

                       Debtor(s).                     PROOF OF SERVICE


              I, Melissa Gonzalez, declare that:

              I am employed by Aldridge Pite, LLP. My business address is: Fifteen Piedmont Center,

     3575 Piedmont Road, N.E., Suite 500, Atlanta, GA 30305. I am over the age of eighteen years
     and not a party to this case.

              On September 14, 2022, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE

     to be served in said case by electronic means through the court’s CM/ECF system or through

     United States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.

              I declare under penalty of perjury that the foregoing is true.



                                                     /s/Melissa Gonzalez
                                                     MELISSA GONZALEZ




                                                      -1-
     PROOF OF SERVICE
Case 21-11658-amc      Doc   Filed 09/14/22 Entered 09/14/22 17:30:35   Desc Main
                             Document     Page 10 of 10
                                        SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Denise Robin Marshall
     1036 Rock Creek Drive
     Wyncote, PA 19095



     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     DAVID M. OFFEN

     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     KENNETH E. WEST

     U.S. TRUSTEE
     (VIA ELECTRONIC NOTICE)
     United States Trustee




                                              -2-
     PROOF OF SERVICE
